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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 WHITE WAVE INTERNATIONAL
 LABS, INC., a Florida Corporation

         Plaintiff,
 v.                                                          Case No.: 8:09-CV-1260-VMC-TGW

 LINDSAY LOHAN, et al.,

       Defendants.
 ________________________________________/


  LORIT, LLC’S MOTION FOR FINAL SUMMARY JUDGMENT AND MEMORANDUM IN
                             SUPPORT THEREOF

        NOW COMES, Defendant, Lorit, LLC, (“LORIT”) by and through its undersigned counsel,

 and pursuant Rule 56 of the Federal Rules of Civil Procedure, and hereby respectfully moves this

 Court for summary judgment in its favor on all counts brought by the Plaintiff, White Wave

 International Labs, Inc., (“Plaintiff”), against LORIT, and in support thereof, makes the following

 argument.

 I.     INTRODUCTION

        LORIT is a limited liability company formed in Nevada for the purpose of developing,

 marketing and selling self tanning products. LORIT’S business plan was to develop a self tanning

 spray and have celebrity Lindsay Lohan promote the product. The involvement of Ms. Lohan was

 critical to LORIT’s success because the self tanning market was saturated with similar products. See

 Declaration of Lorit Simon attached hereto as Exhibit “A” ¶ 2.

         Because most of the ingredients in self tanning sprays are the same, LORIT endeavored to

 create a product by picking the non-standard ingredients of her choosing. To that end, LORIT relied

 on its managing member, Lorit Simon, to develop the product’s ingredients. Ms. Simon has been in
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 the spray tanning business for more than 10 years and has the required experience and knowledge to

 pick ingredients that would appeal to the self tanning market. Exhibit “A” ¶ 3.

          In the fall of 2008, LORIT came into contact with the Plaintiff, White Wave International

 Labs, Inc. and its President, Jennifer Sunday. Plaintiff is in the business of mixing ingredients of its

 client’s choice and a having a product manufactured for the client. Plaintiff explained to LORIT that

 that the ingredients it used were standard for the industry, and LORIT’s choice of other ingredients

 were unique to LORIT. See Plaintiff’s email of November 28, 2008, attached to Plaintiff’s depo. as

 Exhibit 8. The Plaintiff held itself out to LORIT as a lab that was capable of delivering a high

 volume of canisters containing self tanning solution.

          In November 2008, LORIT and Plaintiff began to work together to develop the tanning

 solution and the canister that would dispense it. Throughout November and December 2008, and

 January 2009, LORIT and Plaintiff collaborated on the tanning solution’s ingredients. LORIT chose

 the unique ingredient of Goji berry extract, she approved of the Chardonnay extract and she picked

 the black coconut fragrance. Throughout this development process, LORIT and Plaintiff had not

 entered into any type of confidentiality agreement or contract. Exhibit “A” ¶ 7.

          The tanning solution’s ingredients list developed by LORIT and Plaintiff was finalized on

 January 27, 2009. On January 28, 2009, LORIT and Plaintiff entered into a Confidential Agreement

 Between Firms (“CABF”).1 (Complaint Dkt. # 1). The CABF was not intended to protect any

 information disseminated or shared prior to January 28, 2008.


 1 The contract attached to complaint has a first page dated January 27, 2009; however, this must be a clerical error by the
 Plaintiff. Def.’s Exh. 11 to Pl.’s depo. is a copy the contract signed by the Plaintiff on January 27, however, this contract
 was not signed by LORIT. As can be seen by a comparison of the signatures on Ex. 11 and the signature page attached to
 the complaint, the page solely signed by Plaintiff on the 27th (Ex. 11) does not match the signature attached to the
 complaint. Therefore, the signature page added to the contract attached to the complaint must be from another contract.
 The signature page attached to the complaint goes with the contract dated January 28, 2009. See Exhibit A ¶9. Plaintiff
 has made either a clerical error, or, Plaintiff switched the signature page in an attempt to back-date the contract. Also, as
 is obvious, the signature page attached to complaint doesn’t match the other pages of the contract; the signature page is a
 fax copy, the other pages are not. Regardless, the complaint pleaded that the CABF was entered into on January 28th and
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          Plaintiff never expected that the ingredients of the tanning spray would be kept secret. In

 November 2008, Plaintiff sent LORIT an email explaining that LORIT and Plaintiff could never

 expect the ingredient list to be a secret because all of the ingredients were required by law to be

 disclosed on the product label to be sold to the public. (Pl.’s depo p.80; Def.’s Ex. 8 to Pl.’s depo).

          LORIT and Plaintiff were unable to consummate a business deal that would allow Plaintiff to

 be the wholesale provider of the tanning solution to LORIT. Thereafter, LORIT hired the Wormser

 Corporation to handle the production of tanning spray. Exhibit “A” ¶ 10. The Wormser Corporation

 contacted United I International Labs, LLC to produce the tanning spray for LORIT. The tanning

 spray was ultimately produced and sold under the name “Sevin Nyne”; a name chosen by Ms. Lohan.

  In May 2009, Sevin Nyne was introduced to the market.

          In July 2009, the Plaintiff filed the instant five count complaint alleging that the product the

 Plaintiff and LORIT developed together was really a “trade secret” and that LORIT, and others,

 misappropriated this secret. 2 Plaintiff, however, has no evidence to support her claims and merely

 speculates as to the circumstances that it believes could prove its case. For example, Plaintiff, a

 chemistry lab, testified that it never performed any tests on Sevin Nyne in order to compare it with

 her “trade secret.” Instead, Jennifer Sunday, Plaintiff’s President, thinks her trade secret was

 misappropriated because, in her opinion, the two products smell the same. Remarkably, the Plaintiff

 never asked any Court to enjoin LORIT from continuing to sell Sevin Nyne.

 II.      SUMMARY JUDGMENT STANDARD

          On a motion for summary judgment, all of the evidence and factual inferences arising there

 from should be construed in the light most favorable to the nonmoving party. Adickes v. S.H. Kress

 & Co., 398 U.S. 144, 157, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970). Summary judgment can be entered


 this fact was admitted by LORIT.
 2 All original defendants, other than Lorit, LLC have been dismissed for lack of personal jurisdiction. Count IV in
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 on a claim only if it is shown “that there is no genuine issue as to any material fact and that the

 moving party is entitled to judgment as a matter of law.” Rule 56. The Supreme Court has explained

 the summary judgment standard as follows:

                  [T]he plain language of Rule 56(c) mandates the entry of summary
                  judgment, after adequate time for discovery and upon motion, against
                  a party who fails to make a showing sufficient to establish the
                  existence of an element essential to that party's case, and on which
                  that party will bear the burden of proof at trial. In such a situation,
                  there can be “no genuine issue as to any material fact,” since a
                  complete failure of proof concerning an essential element of the non-
                  moving party's case necessarily renders all other facts immaterial.


 Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). The trial

 court's function at this juncture is not “to weigh the evidence and determine the truth of the matter

 but to determine whether there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 249, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). A dispute about a material fact is genuine if

 the evidence is such that a reasonable jury could return a verdict for the nonmoving party. Anderson,

 477 U.S. at 248.


         The party moving for summary judgment “always bears the initial responsibility of informing

 the district court of the basis for its motion, and identifying those portions of ‘the pleadings,

 depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,’

 which it believes demonstrate the absence of a genuine issue of material fact.” Celotex, 477 U.S. at

 323. Once this initial demonstration under Rule 56(c) is made, the burden of production, not

 persuasion, shifts to the nonmoving party. The nonmoving party must “go beyond the pleadings and

 by her own affidavits, or by the ‘depositions, answers to interrogatories, and admissions on file,’

 designate ‘specific facts showing that there is a genuine issue for trial.’ “ Id. at 324; see also RULE


 the Complaint does not allege any liability or damages against Lorit, LLC
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 56. In meeting this burden the nonmoving party “must do more than simply show that there is some

 metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). That party must demonstrate that there is a

 “genuine issue for trial.” Id. at 587. An action is void of a material issue for trial “[w]here the record

 taken as a whole could not lead a rational trier of fact to find for the nonmoving party.” Id.


 III.     PLAINTIFF IS UNABLE TO SHOW ANY ACTUAL DAMAGES ON ANY OF ITS
          CLAIMS AGAINST LORIT, LLC

          A. Count I, Breach Of Contract, Plaintiff Failed To Properly Plead Special Damages
          And Has Waived Its Right To Seek Special Damages, Therefore, Plaintiff Cannot Prove
          An Essential Element Of This Claim

          Count I of the complaint seeks to recover damages from LORIT alleging that LORIT

 breached the CABF entered into by the parties. Under Florida law, the elements of a breach of

 contract claim are (1) a valid contract, (2) a material breach, and (3) damages. Abruzzo v. Haller, 603

 So.2d 1338, 1340 (Fla. 1st DCA 1992). A material breach occurs only when an injured party has

 sustained a substantial injury due to the breach. Bland v. Freightliner LLC, 206 F.Supp.2d 1202,

 1210 (M.D.Fla.2002). A plaintiff may only recover if the damages are a proximate result of the

 material breach. Chipman v. Chonin, 597 So.2d 363, 364 (Fla. 3d DCA 1992).

          Count I merely alleges that Plaintiff has been “damaged” and requests “an award of damages

 and any and all equitable relief.”3 After the close of discovery, Plaintiff reveled that it would be

 pursuing the net profits of LORIT and other as the sole source of damages in this case.

          Rule 9(g), Federal Rules of Civil Procedure requires that “[w]hen items of special damages

 are claimed, they shall be specifically stated.” See also 5 Wright & Miller, Federal Practice and

 Procedure 2d ed. § 1311, at 710-11 (1990). The court in Leavitt v. Cole, 291 F.Supp. 2d 1338


 3 Plaintiff is only entitled to equitable relief when there is no adequate remedy at law. Plaintiff has relied on its
 adequate legal remedy of breach of contract and can offer no evidence that it entitled to any equitable relief.
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 (M.D.Fla. 2003), emphasized that Rule 9(g) has been “perhaps the best means of ensuring that an

 unwitting defendant not be blindsided by claims for certain types of damages not explicitly pled.”

 Moreover, special damages “are damages that are unusual for the type of claim in question-that are

 not the natural damages associated with such a claim.” Avitia v. Metro. Club of Chicago, Inc., 49

 F.3d 1219, 1226 (7th Cir.1995).

          On May 25, 2012 Plaintiff belatedly served unverified answers to LORIT’s interrogatories

 regarding the damages sought in Count I.4 For the first time in the case, Plaintiff claimed, by way of

 these interrogatory answers, that it is seeking the special damages for breach of CABF:

                   “all sums paid to Lorit LLC and its shareholders, partners, officers
                   and directors pursuant to the sale of the Sevin Nyne product from the
                   date of its first sale to the public until the present, minus the cost of
                   goods sold. Plaintiff is unable to quantify the amount of this
                   monetary relief at this time.”

 (Exh.      to Pl.’s depo.)

          Clearly, the net profits of LORIT, and others, are not the type of recoverable damages set

 forth in the CABF. Paragraph 9 of the CABF states that the “non-breaching party may seek specific

 performance or injunctive relief.” Although the CABF does not specifically exclude pursuing other

 “remedies at law or equity” it is silent as to exposing the breaching party to liability for net profits

 damages. The CABF did not give LORIT notice that it might be sued for this type of special

 damage. Thus, the Plaintiff was required by Rule 9 to give LORIT notice of its claim for special

 damages by specifically stating them in the complaint.




 4 As discussed below, Plaintiff still has not “answered” these damages interrogatories because the response remain
 unsigned. Moreover, counsel for Plaintiff, Ms. Cohen, attempted to serve a fraudulent verification page for these answers
 by giving the undersigned a pre-notarized verification page without any signature.
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          Plaintiff has waived its claim to recover special damages by failing to specifically plead them,

 and therefore, it cannot show any damage as an essential element for Count I and this count should

 be dismissed.5

        B.     Plaintiff’s Failure to Disclose Evidence Of Damages During Discovery Requires
 Dismissal Of Its Damages Claims, Alternatively, LORIT Is Entitled To The Sanction Of
 Dismissal Of Plaintiff’s Claims For Failure To Answer Interrogatories After Being Ordered By
 The Court And Because Of Plaintiff’s Counsel’s, Ms. Cohen, Use Of A Fraudulent Pre-
 Notarized Unsigned Verification Page To Substantiate Plaintiff’s Evidence Of Damages

          On March 30, 2012, LORIT hand delivered to Plaintiff a second set of interrogatories and

 requests for production directed to Plaintiff’s claims for damages. Plaintiff failed to serve any

 response to these discovery requests regarding its alleged damages. On May 16, 2012, LORIT filed a

 motion to compel responses to these discovery requests. The Plaintiff again failed to serve any

 response to these requests. On May 24, 2012 a hearing was held on LORIT’s Motion to Compel

 Discovery. This Court entered an Order granting LORIT’s motion to compel to the extent that

 Plaintiff was ordered to respond to the outstanding discovery requests on damages no later than May

 25, 2012. (Dkt. #131) On May 25, 2012 Plaintiff served unverified answers to the damages

 interrogatories and a response to the request for production, but failed to produce any of the

 requested documents.

          LORIT’s Second Set of Interrogatories, 1 through 5, asked the Plaintiff to “describe in detail”

 for Counts I, II, III and IV, “all monetary relief Plaintiff seeks ..., including the amount and method


 5 Plaintiff attempts, in its deposition, to salvage its claim for damages by expanding what it claims entitlement to outside
 of its interrogatory answers, by guessing Plaintiff could be entitled to money, under the CABF, for the unconsummated
 deal between the parties to purchase the tanning product. The CABF, however, has no bearing, and is completely
 unrelated to the parties discussions on purchasing a product from the Plaintiff. In fact, the Plaintiff testified that it and
 LORIT never came to any agreement on the price LORIT was willing to pay for each canister. The preliminary
 discussions between Plaintiff and LORIT reveled that the canisters of tanning spray would cost LORIT somewhere
 between $3.00 and $4.00 per can. There is absolutely no evidence that the parties ever discussed Plaintiff’s entitlement
 to any money other than what Plaintiff might have profited on the wholesale price: what LORIT paid and Plaintiff’s cost
 to have the product produced. Plaintiff, at the time it entered into the CABF and, thereafter, never had any expectation of
 receiving LORIT’s net profits. As such, Plaintiff never would have been entitled to the benefits of the deals that LORIT
 made with the retailers of the product.
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 of computation of each item of monetary relief and the basis of each such computation.” In response

 to each, the Plaintiff gave the same, incomplete, and unverified answer:

                “all sums paid to Lorit LLC and its shareholders, partners, officers
                and directors pursuant to the sale of the Sevin Nyne product from the
                date of its first sale to the public until the present, minus the cost of
                goods sold. Plaintiff is unable to quantify the amount of this
                monetary relief at this time.”

        There are a number of problems with these answers. First, to be considered an “answer” to

 an interrogatory, the Plaintiff must have signed it’s answers under oath. Rule 33(b)(3). Plaintiff

 never signed its answers to LORIT’s damages interrogatories. Therefore, Plaintiff has failed to

 comply with this Court’s order, and Rule 33, to answer the interrogatories and renders Plaintiff’s

 response a nullity.

        Second, Plaintiff’s counsel’s, Marcia Cohen, attempted to pass-off a fraudulently notarized

 signature page to support of these answers. As can be seen from the signature page attached at

 Plaintiff’s deposition, Ms. Cohen had her secretary, Ms. Erickson, pre-notarize the signature page.

 This practice is clearly improper and, most likely a violation of Florida law.

        Finally, the damages interrogatory responses are incomplete. The interrogatories asked for a

 computation of each item of monetary relief and the basis for such computation. The Plaintiff failed

 to answer this part of the question and merely stated that it was “unable to quantify the amount of

 this monetary relief at this time.” LORIT asks: If not now, when? How is LORIT to defend and

 prepare for trial when the Plaintiff conceals the amount of damages it is claiming, its method and

 basis of computation, and the documents on which it relies? How is the Plaintiff going to prove

 damages at trial? If Plaintiff already has all the necessary information to prove damages at trial, why

 didn’t Plaintiff fully answer the damages interrogatories and produce the documents on which it




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 relies?

           As such, Plaintiff’s failure to provide complete “answers” to the damages interrogatories

 requires dismissal of the damages claim for each count. See JMJ Enterprises, Inc. v. Via Veneto

 Italian Ice, Inc., No. 97-CV-0652, 1998 U.S. Dist. LEXIS 7750, at *6-7, 12 (E.D. Pa. May 27,

 1998)(concluding that the interrogatory responses were “as useful as if [plaintiff] had not responded

 at all,” and such failure to answer interrogatories regarding damages was not only deserving of

 sanctions, but the only proper outcome was dismissal of claims based on damages). Moreover, in

 Cabales v. United States, 51 F.R.D. 498, 499 (S.D.N.Y. 1970), aff’d 447 F.2d 1358 (2nd Cir. 1971), it

 was held that answers to interrogatories which were submitted late and unsigned by the party did not

 constitute an answer as required by the rule, and that the sanction of dismissal was therefore properly

 issued by the trial court for the plaintiff’s failure to comply with the court’s order to answer the

 interrogatories.

 IV. PLAINTIFF HAS FAILED TO SHOW ANY TRADE SECRETS IN SUPPORT OF COUNTS
     II, III AND V AND THERE IS NO EVIDENCE THAT LORIT BREACHED THE CABF.

           Plaintiff has brought a claim in Count II against LORIT under sections 688.001 et seq.,

 Florida Statutes for misappropriation of trade secrets. To show misappropriation of a trade secret

 under Florida law, a claimant must prove: (1) the plaintiff possessed secret information and took

 reasonable steps to protect its secrecy and (2) the secret it possessed was misappropriated. Del Monte

 Fresh Produce Co. v. Dole Food Co., 136 F.Supp.2d 1271, 1291 (S.D.Fla.2001); Fla. Stat. § 688.002.

  In a trade secret action, the plaintiff bears the burden of demonstrating the specific information it

 seeks to protect is a trade secret. American Red Cross v. Palm Beach Blood Bank, Inc., 143 F.3d

 1407, 1410 (11th Cir.1998). Florida's Uniform Trade Secret Act displaces tort law regarding trade




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  secret misappropriation. See All Pro Sports Camp, Inc. v. Walt Disney Co., 727 So.2d 363, 367 (Fla.

  5th DCA 1999).

           To qualify as a trade secret, the information that the plaintiff seeks to protect must derive

  economic value from not being readily ascertainable by others and must be the subject of reasonable

  efforts to protect its secrecy. See American Red Cross v. Palm Beach Blood Bank, Inc., 143 F.3d

  1407, 1410 (11th Cir.1998) (applying Florida law); Bestechnologies, Inc. v. Trident Envt. Sys., Inc.,

  681 So.2d 1175, 1176 (Fla. 2d DCA 1996) (defining trade secret). Additionally, if the information in

  question is generally known or readily accessible to third parties, it cannot qualify for trade secret

  protection. Del Monte, 136 F. Supp 2d at 1291; See American Red Cross, 143 F.3d at 1410.

           In support of Plaintiff’s claim of misappropriation, Plaintiff alleges that its final product

  sample, “Sample 1”6 and corresponding formula constitute a “trade secret.” Plaintiff further alleges

  that LORIT misappropriated Sample 1 by taking it to another lab and having that lab reproduce or

  “reverse engineer” Sample 1. (Pl.’s depo. p. 6, ln. 12 -24). LORIT then allegedly sold the pirated

  tanning solution as Sevin Nyne.

           Plaintiff cannot offer any evidence to support this claim, because, in its own words, the

  Plaintiff has none. First, Plaintiff testified although no tests were done on the Sevin Nyne product, in

  Ms. Sunday’s opinion Sevin Nyne was “similar” to Sample 1; not a copy. (Pl.’s depo. p. 7, ln. 7-14).

  Second, Plaintiff has no evidence that LORIT gave Sample 1 to another lab. (Pl.’s depo. p. 7, ln. 20-

  23). In fact, Plaintiff has admitted giving Sample 1 to a third party retailer of tanning products:

  Sephora. (See Plaintiff’s answer to interrogatory 15; Def.’s Exh. 2 to Pl. depo; Pl. depo p. 24)

  LORIT denies ever giving any samples received from Plaintiff to anyone or any business. Exhibit

  “A” ¶ 4,5. Third, Plaintiff doesn’t know what lab allegedly reversed engineered her product. (Pl.’s


  6 For ease of reference, the parties agreed at Plaintiff’s deposition to refer to the sample that Plaintiff claims was its
  misappropriated trade secret as “Sample 1.” ( Pl. depo p.10 ln.24-25; p11, ln. 1)
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  depo. pp. 6-7, ln. 26-6). Fourth, Plaintiff doesn’t have the formula used to make Sevin Nyne and

  Plaintiff has never given the formula for Sample 1 to anyone. Therefore, it is impossible, with the

  evidence before the Court, to substantiate the claim that Sevin Nyne was copied from Sample 1.

  (Pl.’s depo. p. 13). Fifth, Plaintiff never tested Sevin Nyne to determine whether Plaintiff’s Sample

  1 was reversed engineered. (Pl.’s depo. pp. 8 - 10).



         In short, Plaintiff has no idea as to whether or not the formula used to make Sample 1 is the

  same one used to make Sevin Nyne:

         Pg 13, Ln 20: Q          Now, is the formula you used to create Sample 1 the same
                                  formula used by this other lab to produce Sevin Nyne tanning
                                  Mist?

                                  ( Unfounded objections; then same question above is read back)

         Pg 14, Ln 25: A          I don’t know.

         Plaintiff’s claim for misappropriation of trade secrets under Florida law must fail. Plaintiff

  cannot satisfy its burden to demonstrate the existence of an actual “trade secret.” In particular,

  Plaintiff has failed to specifically describe or provide any evidence as to what “trade secrets” LORIT

  allegedly misappropriated. Plaintiff has not identified the actual formula its claims is a trade secret.

  Nor has Plaintiff identified the product sample it now claims is a trade secret. Therefore, LORIT is

  put in the impossible position of defending against this charge because the Plaintiff has kept its

  alleged “trade secret” a secret. This is why the law requires a plaintiff to specifically identify what

  secret was misappropriated; so the claimed secret information can be compared to the alleged copy.

  In this case, the Plaintiff claims that its formula was misappropriated and reversed engineered and

  sold as the product Sevin Nyne. Without the Plaintiff’s formula and the formula used to create Sevin

  Nyne it is impossible to compare the two.

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          Moreover, Plaintiff has affirmatively refused to reveal the formula it now claims was

  misappropriated. During discovery, Plaintiff objected to an interrogatory asking it to identify the

  formula for the product that Plaintiff claims is a trade secret. (Def. Exh 2 to Pl.s depo).

          LORIT denies that that it sent the formula to any other lab and asked them to reproduce it.

  Exhibit “A” ¶ 4,5. Plaintiff cannot offer any evidence to rebut this LORIT’s declaration.

          In fact, United One International Laboratories, LLC produced Sevin Nyne. See Declaration of

  George Mitchell, President of United I attached hereto as Exhibit B. Mr. Mitchell personally

  developed the Sevin Nyne formula and product. Exhibit “B” ¶ 3. Mr. Mitchell denies copying or

  reverse engineering (re-producing) any other product during the development of Sevin Nyne.

  Exhibit “B” ¶ 3. Plaintiff cannot rebut or call into doubt this evidence.

          Plaintiff seems to claim in her deposition that the ingredients used to make Sample 1 were

  also a protected “trade secret.” This theory also fails for many reasons. First, Plaintiff knew that the

  ingredients would enter the public domain because, by law, all of the ingredients had to be listed on

  all of the cans to be sold to the public. Second, Plaintiff cannot claim the ingredients are a secret that

  LORIT misappropriated when Plaintiff didn’t develop the ingredients on its own; the ingredients was

  a collaboration between Plaintiff and LORIT. (Pl.’s depo. p. 39). Therefore, the ingredients weren’t

  a secret Plaintiff possessed; the ingredients list didn’t exist until Plaintiff got the unique parts from

  LORIT. Plaintiff admitted that of the 11 ingredients in Sample 1, only 4 are unique and LORIT

  picked two of those and approved the other; meaning LORIT could have excluded it. (Pl.’s depo. pp.

  39; 45). Third, the Plaintiff admits that it sent the ingredient list to Sephora before the product was

  made available to the public. (Pl.’s depo. pp. 56-59). Plaintiff cannot hold LORIT responsible for

  such disclosure to third parties. Finally, Plaintiff claims the ingredients were protected from

  disclosure because of the CABF entered into by the parties. It is an admitted fact that the CABF was

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  entered into on January 28, 2009. (Complaint Dkt. #1). The ingredient list was finalized on January

  27, 2009 and distributed by Plaintiff to many different people. (Def.’s Exh. 4 to Pl.’s depo). Plaintiff

  has already agreed that the contract it drafted did not cover any samples or information released

  before January 28, 2009. (Pl.’s depo p. 31 line 19-25; p.32 line 1-8). Therefore, because the

  ingredient list wasn’t protected by the CABF, Lorit could not have breached the CABF by disclosing

  it.

          Plaintiff has simply failed to meet its burden of demonstrating the existence of a trade secret.

  See American Red Cross, 143 F.3d at 1410 (“In a trade secret action, the Plaintiff bears the burden

  of demonstrating both the specific information it seeks to protect and that it has taken reasonable

  steps to protect this secrecy.”) Plaintiff’s complete failure to indentify the “trade secret” warrants

  summary judgment in favor of LORIT as to all Counts in the compliant. PortionPac Chem. Corp v.

  Sanitach Sys., 217 F. Supp2d 1238, 1252-53 (M.D.Fla. 2002) (granting summary judgment for

  failure “to allege or provide evidence as to what trade secret Defendants allegedly misappropriated”).

          Furthermore, LORIT is entitled to summary judgment on Count I, Breach of Contract,

  because there is no evidence that LORIT gave the ingredient of Sample 1 to anyone. Moreover,

  Plaintiff cannot offer sufficient evidence of causation becasuse Plaintiff admits to giving Sample 1

  and the ingredients list to Sephora. Finally, the CABF was not effective until January 28, 2009; the

  day after Plaintiff distributed the final ingredient list. These facts prevent Plaintiff from offering any

  genuine issue of material fact as to the necessary elements that LORIT breached the CABF or was

  the cause of any damage to Plaintiff.

          Plaintiff has also sued LORIT the under Florida Deceptive and Unfair Trade Practices Act

  (“FDUTPA”). Lorit should prevail for the reasons stated above that support LORIT’s motion for

  summary judgment on the Count II of the Complaint. In addition, no genuine issue of material fact

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  exists, and Plaintiff cannot produce any evidence of customer confusion or that LORIT has deceived

  customers or potential customers, as required under the statute.

            Subsection 501.204(1), Florida Statutes, declares the following to be unlawful: “[u]nfair

  methods of competition, unconscionable acts or practices, and unfair or deceptive acts or practices

  in the conduct of any trade or commerce.” In construing this subsection, “great weight shall be given

  to the interpretations of the Federal Trade Commission and the federal courts relating to s. 5(a)(1) of

  the Federal Trade Commission Act, 15 U.S.C. s. 45(a)(1) as of July 1, 2006.” § 501.204(2), Fla. Stat.

  (2008).

            Similarly, to determine whether a “violation of this part” has occurred, a court may look to

  rules promulgated “pursuant to the Federal Trade Commission Act” and the “standards of unfairness

  and deception set forth and interpreted by the Federal Trade Commission or the federal courts.” §

  501.203(3), Fla. Stat. According to the legislature, FDUTPA “shall be construed liberally to promote

  the following policies”:

                           (1) To simplify, clarify, and modernize the law governing consumer
                           protection, unfair methods of competition, and unconscionable, deceptive,
                           and unfair trade practices.
                           (2) To protect the consuming public and legitimate business enterprises from
                           those who engage in unfair methods of competition, or unconscionable,
                           deceptive, or unfair acts or practices in the conduct of any trade or commerce.
                           (3) To make state consumer protection and enforcement consistent with
                           established policies of federal law relating to consumer protection.

  § 501.202, Fla. Stat. (2008).

            FDUTPA provides that an aggrieved party may initiate a civil action against a party who

  has engaged in “unfair or deceptive acts or practices in the conduct of any trade or commerce,”

  but it does not define the elements of such an action. See § 501.204(1), Fla. Stat. Instead, the

  statute provides that the Florida courts must give “due consideration and great weight” to Federal


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  Trade Commission and federal court interpretations of section 5(a)(1) of the Federal Trade

  Commission Act, 15 U.S.C § 45(a)(1). See § 501.204(2), Fla. Stat. According to the federal

  decisions, a deceptive practice is one that is “likely to mislead” consumers. See In re International

  Harvester Co., 104 F.T.C. 949 (1984); In the Matter of Cliffdale Assocs., Inc., 103 F.T.C. 110

  (1984); Southwest Sunsites, Inc. v. Federal Trade Comm'n., 785 F.2d 1431 (9th Cir. 1986).

         The objective test adopted by the Federal Trade Commission and the federal courts applies,

  as well, in a suit in state court under the Florida Deceptive and Unfair Trade Practices Act. See

  Millenium Communications & Fulfillment, Inc. v. Office of the Attorney General, 761 So.2d 1256

  (Fla. 3d DCA 2000).

         There is no evidence that any consumer was deceived. Discovery is closed. Plaintiff has

  offered no evidence to support its claim of deception. To establish that LORIT violated FTCA

  Section 5(a) by engaging in deceptive acts or practices in or affecting commerce, Plaintiff ultimately

  must demonstrate a material representation, omission, or practice that is likely to mislead consumers

  acting reasonably in the circumstances. See FTC v. Pantron I Corp., 33 F.3d 1088, 1095 (9th

  Cir.1994); FTC v. World Travel Vacation Brokers, Inc., 861 F.2d 1020, 1029 (7th Cir.1988); FTC v.

  Five-Star Auto Club, Inc., 97 F.Supp.2d 502, 526 (S.D.N.Y.2000). Plaintiff offers no such evidence.

         One purpose of the FDUTPA is to protect the consuming public and legitimate business

  enterprises from those who engage in unfair methods of competition, or unconscionable, deceptive,

  or unfair acts or practices in the conduct of any trade or commerce. Plaintiff has provided no

  evidence that the consuming public has been harmed. Further, there is no evidence that a “legitimate

  business enterprise” has been harmed. Neither has Plaintiff put forth any evidence that Plaintiff, has

  suffered any harm. For the foregoing reasons, LORIT respectfully requests that summary judgment

  be granted, and Plaintiff’s claim be dismissed.

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  V. PLAINTIFF IS UNABLE TO SHOW A CONSPIRACY

         A civil conspiracy requires: (a) an agreement between two or more parties, (b) to do an

  unlawful act or to do a lawful act by unlawful means, (c) the doing of some overt act in pursuance of

  the conspiracy, and (d) damage to plaintiff as a result of the acts done under the conspiracy. Charles

  v. Fla. Foreclosure Placement Ctr., LLC, 988 So. 2d 1157, 1159-60 (Fla. 3d DCA 2008) (citations

  omitted).

         “A cause of action for civil conspiracy should allege the scope of the conspiracy, its

  participants, and when the agreement was entered into.” Pierson v. Orlando Regional Healthcare

  Systems, Inc., No. 6:08-cv-466-Orl-28GJK, 2010 WL 1408391, at * 23 (M.D. Fla. Apr. 6, 2010),

  citing In re Chiquita Brands Int'l, Inc. Alien Tort Statute & S'holder Derivative Litig., Nos. 08-

  01916-MD & 08-20641-CIV-KAM, 2010 WL 432426, at *12 (S.D. Fla. Feb. 4, 2010).

         Most importantly, mere conclusory allegations of an “agreement” are not sufficient to state a

  cause of action for conspiracy. Pierson, 2010 WL 1408391, at *23 (citing MedTech Prods. Inc. v.

  Ranir, LLC, 596 F. Supp. 2d 778, 795 (S.D.N.Y. 2008) (finding civil conspiracy claim insufficiently

  plead where the complaint “merely concludes that an agreement [among the defendants] existed

  without any factual basis to make the allegation plausible.”). “A complaint may justifiably be

  dismissed because of the conclusory, vague and general nature of the allegations of conspiracy.”

  Pierson, 2010 WL 1408391, at *23 (internal quotations and citations omitted). Simply “rehashing of

  allegations of individual actions and general allegations of agreement are not sufficient” to meet the

  pleading standards of Twombly. Id. at *27.

         The requirements governing fraud apply to averments charging conspiracy. Renpak

  v.Oppenheimer, 104 So.2d 642, 646 (Fla.App.1958); Gair v. Lockhart, 47 So.2d 826 (Fla.1950). The

  facts must be stated with such particularity as the circumstances may permit; that the allegations of

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  the complaint should be clear, positive, and specific.

           The Plaintiff cannot remotely prove the necessary elements needed to maintain an action of

  conspiracy against LORIT. First, Plaintiff has no evidence of any the necessary specific information,

  such as time, place, manner and scope of conspiracy. The only reasons Plaintiff has for believing

  LORIT engaged in a conspiracy are the reasons set for in Plaintiff’s answer to LORIT’s First Set of

  Interrogatories, no. 6. (Pl. depo. p.21; Ex. 2 to Pl. depo). In that interrogatory answer, Plaintiff sets

  forth the total evidence to support this claim: 1) breaching the CABF; 2) copying Plaintiff’s product

  without consent and 3) disclosing Plaintiff’s proprietary information without consent. Plaintiff

  testified that it had no knowledge as to when the agreement to conspire was made, nor of any of the

  particular parts of the alleged agreement to conspire. (Pl. depo. pp. 21-23). There is simply no

  evidence of a conspiracy entered into by LORIT. See Raimi v. Furlong, 702 So2d 1273 (Fla. App.3

  Dist. 1997).

           Moreover, there is no evidence that the other alleged participants to the conspiracy had any

  knowledge of the conspiracy or that they knowingly participated in it. Plaintiff is engaging in pure

  speculation as to the existence of a conspiracy. See James v Nations Trust Company, 639 So2d 1031

  (Fla. App. 5 Dist. 1994).

           An actionable conspiracy also requires an underlying tort or wrong. Palmer v. Gotta Have It

  Golf Collectibles, Inc., 106 F.Supp.2d 1289, 1302-03 (S.D.Fla.2000) (citing Ovadia v. Bloom, 756

  So.2d 137, 140 (Fla. 3d DCA 2000) (citations omitted)). “An act which does not constitute a basis

  for an action against one person cannot be made the basis of a civil action for conspiracy.” Buckner

  v. Lower Fla. Keys Hosp. Dist., 403 So.2d 1025, 1027 (Fla. 3d DCA 1981). Because LORIT should

  prevail on the misappropriation of trade secrets counts, it likewise should prevail on the conspiracy

  count.

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          Finally, LORIT cannot conspire with its own agents.             Lawler v. Eugene Wuesthoff

  Memeorial Hosp. Ass’n., 497 So2d 1261 (Fla. App.5 Dist 1986). The alleged co-conspirators were

  Lorit Simon, Lindsay Lohan, Crossheart Productions, Kerry Fitzpatrick, Sean Lampman, Kristi

  Taylor, Unlock PR and the Loft Agency. All of these people and entities were agents of LORIT.

  (Lorit declaration).

          Therefore, LORIT’s motion for summary judgment should be granted and the conspiracy

    claim should be dismissed with prejudice.


    VI. PLAINITFF’S FDUTPA CLAIM MUST ALSO FAIL BECAUSE IT IS PREEMPTED BY
        THE FUTSA

          The claim should also be dismissed because it is preempted by FUTSA. According to

  Defendants, Plaintiff's claim for fraudulent inducement is identical to Plaintiff's claim for

  misappropriation of a trade secret and essentially is nothing more than an attempt to tack additional

  causes of action on to a trade secret misappropriation claim in order to avoid the reach of FUTSA.

          By its own provisions FUTSA forecloses other tort actions or remedies. FUTSA states in

  relevant part that it “displace[s] conflicting tort, restitutory, and other law[s] of this state providing

  civil remedies for misappropriation of a trade secret.” Thus, as a general proposition other torts

  involving the same underlying factual allegations as a claim for trade secret misappropriation will be

  preempted by FUTSA. In order to pursue claims for additional tort causes of action where there are

  claims for misappropriation of a trade secret, there must be material distinctions between the

  allegations comprising the additional torts and the allegations supporting the FUTSA claim. See

  also, Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F.Supp.2d 1170, 1180-81

  (M.D.Fla.2005) (where “the allegations of trade secret misappropriation alone comprise the

  underlying wrong, only the FUTSA claim will survive the motion to dismiss.”).


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          WHEREFORE, the Defendant, Lorit, LLC respectfully requests that this court grant its

  motion for summary judgment and enter judgment in this case in LORIT’s favor and against the

  Plaintiff on all counts.




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished on this
  15th day of June, 2012, by CM/ECF electronic filing to the Clerk of Court and to the following:
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